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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

UNITED STATES OF AMERICA,                CASE NO. 2:24-CR-004(3)

              Plaintiff,                 JUDGE EDMUND A. SARGUS, JR.

       vs.

GERALD B. HARDEN,

              Defendant.


              GOVERNMENT’S SENTENCING MEMORANDUM

      The United States submits this Sentencing Memorandum in connection with

Gerald Harden’s upcoming sentencing hearing. The Government agrees with the

guideline calculations from the Presentence Investigation Report, which yield a

sentencing range of 63–78 months of imprisonment. The Government respectfully

requests that the Court impose a low-end term of 63 months of imprisonment, to be

followed by a three-year term of supervised release.

                                I. BACKGROUND

      In 2023, ATF agents began investigating Gerald Harden’s co-defendant,

Buford Lowry, for suspected firearm trafficking. Undercover agent(s) met with Lowry

several times in 2023. During two of those meetings, Lowry brokered firearm sales

from Harden (a felon) to the agent(s). On August 22nd, Harden sold the agent(s) a

Mossberg 500, 12-guage shotgun. Harden also gave the agent(s) 1.251 grams of

methamphetamine. Then, on October 13th, Harden sold the agent(s) a German

Makarov, 9mm pistol and a Glock .40 caliber pistol with an extended magazine.
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      On January 9, 2024, the grand jury returned an indictment that charged

Harden with two counts of possession of a firearm by a convicted felon and one count

of distribution of methamphetamine. On April 4, 2024, Harden pled guilty to two

counts of possession of a firearm by a convicted felon pursuant to a plea agreement

under Rule 11(c)(1)(A) of the Federal Rules of Criminal Procedure. The Government

agreed to dismiss the remaining count at the time of sentencing.

      In that plea agreement, the parties reached several sentencing stipulations,

including a Base Offense Level of 20 given the extended magazine and Harden’s

status as a prohibited person; a 2-level enhancement given the possession of between

three and seven firearms; and a 3-level reduction given his timely acceptance of

responsibility. The plea agreement contained no stipulations as to Harden’s criminal

history scoring.

                     II. The Applicable Guidelines Range

      The Probation Officer calculated a Total Offense Level of 20, which mirrored

the stipulations from the parties’ plea agreement, and a Criminal History Category

of VI, resulting in a guideline range of 63–78 months of imprisonment. Neither party

has objected to those calculations, so the Court should adopt them for sentencing.

       III. Possible Departures from the Applicable Guidelines Range

      The Probation Officer did not find any factors that would warrant a departure

from the applicable guideline range. The Government agrees that no departures are

warranted.




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   IV. Consideration of the Sentencing Factors from 18 U.S.C. § 3553(a)

        This case calls for a within-guideline sentence, albeit one at the low-end of the

advisory range.

                   A. The Nature and Circumstances of the Offenses

        The nature and circumstances of the offenses are troubling. Gerald Harden

not only possessed three firearms—he illegally sold them to relative strangers. And

he sold one of those firearms in connection with providing a sampler of

methamphetamine to the undercover agent(s) with an eye toward setting up future

drug deals. These aggravating factors suggest that a within-guideline sentence is

appropriate.

                  B. The History and Characteristics of the Defendant

        Harden’s history and characteristics point to the same result, particularly

when the Court focuses on his lengthy criminal history.

        Harden was thirty-four when he committed the instant offenses. He was

raised in a two-parent, middle-class household that was strict and rule-based.

Harden never completed high school, but he did obtain his GED prior to enlisting in

the Army National Guard, from which he later received an honorable discharge.

He has never married and has a fifteen-year-old son.

        Although his parents provided for his necessities and did not raise him in high-

crime neighborhoods, he began drinking alcohol as a teenager.           This began the

downward spiral towards drug addiction that ultimately led to this federal criminal

case.




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      Harden began the routine use of narcotics around the age of fifteen. What

started as a marijuana habit quickly escalated to the daily use of cocaine. This

brought Harden to crack cocaine, and then to methamphetamine. Prior to his arrest

in this case, Harden reports a nearly five-year run of daily fentanyl use. While he

appears willing and eager to obtain treatment, his past providers of mandated

treatment report hostility and disengagement.

      Despite his young age, Harden has a lengthy criminal history that began at

age twenty and continued nearly uninterrupted until his arrest in this case. Most of

his prior convictions involve addiction-adjacent crimes such as theft, receipt of stolen

property, and drug-and firearm-offenses.       He does, however, have several more

serious convictions, including an assault that involved repeatedly stomping on one

victim’s head, and beating another with a metal chair. Through this pattern, he

amassed sixteen criminal history points, which places him in Criminal History

Category VI – the highest category under the guidelines.

      In addition, Harden has at least fifteen arrests that did not lead to convictions,

he fled from police on several occasions (including his arrest here), he violated the

terms of his probation in several cases, and he has an active warrant for a home

robbery where Harden allegedly disarmed the home’s security system before breaking

in. All that to say, when considering Harden’s genuine struggle with addiction, the

Court should weigh that against both the duration and severity of his criminal

history.




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                       C. Remaining Sentencing Factors

      The Government has carefully considered the remaining sentencing factors

and submits that none of them take this case or this defendant outside the

“heartland” of firearm possession cases. The Government submits, however, that the

Court should consider how staying within the guideline range will encourage

Harden’s respect for the law, deter him from future criminal conduct, protect those

who might otherwise be endangered by his involvement with firearms and narcotics,

and provide a meaningful opportunity to receive the treatment the PSR recommends.

See 18 U.S.C. § 3553(a)(2)(A)-(D).    All these factors weigh against a downward

variance from the applicable guideline range.

                                V. CONCLUSION

      For these reasons, the United States respectfully requests that the Court

impose a within-guideline sentence of 63 months of imprisonment, to be followed by

a three-year term of supervised release.

                                       Respectfully Submitted,

                                       KENNETH L. PARKER
                                       United States Attorney

                                       s/Tyler J. Aagard
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                           CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Sentencing Memorandum was served

electronically on all counsel of record on this 24th day of July, 2024.


                                        s/Tyler J. Aagard
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                                        Assistant United States Attorneys




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